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                   EXHIBIT 4
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             Declaration of Greater Lafourche Port Commission

1     My name is Chett Chiasson. I am over the age of 18 and am competent to make
      this declaration. The facts set forth in this declaration are based on my
      personal knowledge.

2.    I am the Executive Director for the Greater Lafourche Port Commission which
      is in charge of Port Fourchon and the South Lafourche Leonard Miller, Jr.
      Airport.

3     Port Fourchon is located in LaFourche Parish and sits at the mouth of Bayou
      Lafourche, where it empties into the Gulf of Mexico and is easily accessible
      from any area in the GuIf and Caribbean. Port Fourchon is comprised of 1300
      acres of developed land with over 83,000linear feet of waterfront property that
      house state-of-the-art offshore enerry service facilities.

4.    This location is no accident. Port Fourchon is located in this area precisely
      because of the industries and companies it serves.

5     The Legislature established the Greater Lafourche Port Commission as a
      political subdivision of the State of Louisiana. La. Rev. Stat. $ 34:1651. The
      Commission board is comprised of nine members serving six-year terms. They
      oversee policy decisions that govern Port Fourchon and the South Lafourche
      Airport, and they have the authority to regulate commerce and traffi.c, enact
      ordinances, levy taxes, and lease property, among other things. Id. SS 1652 et
      seq-


6     Over 250 companies utilize Port Fourchon as a base of operation. In addition
      to its huge domestic hydrocarbon significance, Port Fourchon is land base for
      LOOP (Louisiana Offshore Oil Port), which handles l0-1.5o/o of the nation's
      domestic oil, 10-15% of the nation's foreign oil, and is connected to 50% of US
      refining capacity. LOOP is the only US deep-water port capable of offloading
      VLCCs ffery Large Crude Carriers) and ULCCs (Ultra Large Crude Carriers).

7     Port Fourchon currently services lOOo/o of the Gulf of Mexico's deep-water oil
      and gas assets and plays a strategic role in furnishing this country with about
      16% of its entire oil supply.

8     Over 275 large supply vessels traverse the port's channels each day.
      Approximately 15,000 people per month are flown to offshore locations
      supported by Port Fourchon. Truck traffic studies have shown that up to 1,000
      trucks per day travel in and out ofPort Fourchon.

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9.     Five of the top ten Lafourche Parish employers operate from and/or utilize Port
       Fourchon. Nine of the top ten Lafourche Parish taxpayers operate from and/or
       utilize Port Fourchon. There are about 5000 people working in port on any
       given day with an average salary ofjust above $50,000.

10     For these reasons, Port Fourchon has developed as an important base for
       operations. Although the Port's (1) proximity to the Gulf of Mexico, and (2)
       proximity to a hurricane zone, leave it vulnerable to flooding, its location is one
       of its defining features. The Port cannot simply relocate due to an increased
       flood risk.

11     Because Port Fourchon cannot relocate its facilities, the increased cost of flood
       insurance is harming the Port, its tenants and workforce.

L2     Risk Rating 2.0 inhibits the Port's ability to attract workers to serve all the
       companies based out of the Port.

13     To avoid any disruption to Port Fourchon's activities, it is important that it
       maintains a strong and dependable labor force.

14.    Port workers need to live in close proximity to the Port in order to perform
       their jobs. Truck and vessel arrival times are not always predictable and cargo
       needs to be unloaded quickly and safely upon arrival resulting in irregular
       working hours. That's why many workers live within 30-45 minutes of port.

15. Due to the diffrculty of attracting people to live in our area because of the cost
       of living with high Flood and Homeowners Insurance Rates, many facilities
       have been forced to move to a 7 days on and 7 days off work schedule, which
       attracts some out of town workers. This is the only way to attract those workers
       to the positions available, with the added cost of providing housing for out of
       town workers who can't afford to live close by.

16     If Port Fourchon is unable to attract workers and maintain its current
       operations, the losses will be felt across the country. Not only will this impact
       the country's GDP, but it will inhibit consumers' ability to meet their basic
       energy needs.

1.7    After Hurricane Ida, many of Port Fourchon's activities were suspended. The
       consequences of this were felt across the country. Every day the port was
       closed, there was a $46 million loss to the oil and gas industry and a $500
       million loss to the country's GDP.



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18.    While Port Fourchon has the ability to bounce back after a storm like
       Hurricane Ida, the loss of workers will likely prolong its ability to operate at
       full capacity.


I declare under penalty of perjury that the foregoing is true and correct.
Executed in Cut Off, Louisiana, this 14th day of June 2023
                                                   &e
                                                Chett C. Chiasson, MPA
                                                Executive Director
                                                Greater Lafourche Port Commission




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